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1    David K. Schneider (CSB 139288)
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5    Attorneys for Defendant TRUMP UNIVERSITY, LLC

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8                                   UNITED STATES DISTRICT COURT
9                           FOR THE SOUTHERN DISTRICT OF CALIFORNIA
10   TARLA MAKAEFF, on Behalf of Herself                )     Case No. 10 CV 0940 IEG (WVG)
     and All Others Similarly Situated,                 )
11                                                      )
                      Plaintiff,                        )     DECLARATION OF DAVID K.
12                                                      )     SCHNEIDER IN OPPOSITION TO
     v.                                                 )     PLAINTIFF’S MOTION TO STRIKE
13                                                      )     DEFENDANT’S COUNTERCLAIM
     TRUMP UNIVERSITY, LLC, a New                       )
14   York Limited Liability Company, and                )
     DOES 1 through 50, inclusive,                      )     DATE:     8/2/10
15                                                      )     TIME:     10:30 A.M.
                      Defendant.                        )     CRTM:     1
16                                                      )     JUDGE:    HON. IRMA E. GONZALEZ
                                                        )
17   AND ALL RELATED CROSS-ACTIONS.                     )
                                                        )
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19             I, David K. Schneider, declare:
20             1.     I am an attorney duly licensed to practice before the state and federal courts in
21   California, and I am a partner in the law firm of Yunker & Schneider, attorneys for defendant and
22   counterclaimant Trump University, LLC in this matter. I make this declaration of my own personal
23   knowledge, and if called as a witness, I could and would testify competently to the facts stated
24   herein.
25             2.     On June 24, I left the country for a six-day trip with my family. On June 25,
26   plaintiff’s counsel, Ms. Eck, sent an email to me requesting documents to be produced the same day.
27   At the time, Ms. Eck knew that I was out of the country, as she had signed a stipulation specifically
28   acknowledging that fact. See Docket No. 12 . Prior to filing her motion, Ms. Eck called my office
                                                1                   Case No. 10 CV 0940 IEG (WVG)
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                                   DEFENDANT’S COUNTERCLAIM
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1    apparently to discuss a scheduling issue. She spoke with my secretary, Betsy Bertrand, who again

2    advised Ms. Eck that I was out of the country and unreachable. At no time did Ms. Eck request the

3    documents from my office or Trump University nor advise Ms. Bertrand, or anyone else in my

4    office, that she had sent an email to me requesting those documents.

5           3.      The first time that I saw Ms. Eck’s email was after I had returned to the United States,

6    which was after Makaeff filed her motion. I then wrote Ms. Eck to ask whether anyone in my office

7    actually “refused” a request from her about documents, and if not, why she had made that

8    representation to the Court. She acknowledged that she had not asked my office for any documents

9    and apologized for her misrepresentation to the Court. On July 15, I offered to exchange documents

10   with Ms. Eck, but ironically, Ms. Eck refused, stating that plaintiff will produce documents “at the

11   appropriate stage of the litigation.”

12          I declare under penalty of perjury that the foregoing is true and correct and that this

13   declaration was executed by me on July 19, 2010, in San Diego, California.

14                                                       /s/ David K. Schneider
                                                   David K. Schneider
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                                                2                   Case No. 10 CV 0940 IEG (WVG)
          DECLARATION OF DAVID K. SCHNEIDER IN OPPOSITION TO PLAINTIFF’S MOTION TO STRIKE
                                   DEFENDANT’S COUNTERCLAIM
